






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00304-CR







Clara Elizabeth Johnson, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT OF IRION COUNTY


NO. CR00-2882, HONORABLE SID J. MABRY, JUDGE PRESIDING







On appeal de novo from justice of the peace court, a jury found appellant Clara
Elizabeth Johnson guilty of speeding and assessed a $75 fine.  Appellant, a licensed attorney, seeks
to appeal the county court's judgment.  By statute, this Court is without jurisdiction unless the sole
issue on appeal is the constitutionality of the statute or ordinance on which the conviction is based. 
Tex. Code Crim. Proc. Ann. art. 4.03 (West Supp. 2002).

In her brief, appellant does not challenge the constitutionality of the speeding statute
on which her conviction is based.  Instead, she seeks to raise issues concerning the construction and
constitutionality of article 4.03, the jurisdiction of the county court, and the sufficiency of the
evidence.  These issues do not invoke this Court's jurisdiction.


The appeal is dismissed for want of jurisdiction.



				__________________________________________

				Lee Yeakel, Justice

Before Justices Kidd, Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:   February 7, 2002

Do Not Publish


